                Case 1:11-cr-00354-JLT Document 70 Filed 05/22/12 Page 1 of 6


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     Attorney at Law
 2   5200 North Palm, Suite 408
     Fresno, California 93704
 3   Telephone: (559) 241-7000
 4   Attorney for FELIPE RAMIREZ
 5
 6
 7
 8                                  UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )                        NO. 1:11-CR-354 LJO
                                     )
13                   Plaintiff,      )
                                     )                        STIPULATION TO EXTEND TIME FOR
14              vs.                  )                        THE FILING OF DEFENDANTS’
                                     )                        NON-DISPOSITIVE MOTIONS; AND
15   FELIPE RAMIREZ, et al.,         )                        ORDER THEREON
                                     )
16                   Defendants.     )
     _______________________________ )
17
18                   IT IS HEREBY STIPULATED by and between plaintiff, United States of
19   America, and its attorneys of record, Kathleen A. Servatius and Kimberly Sanchez,
20   Assistant U.S. Attorneys, and the following named defendants, and their attorneys of
21   record herein, that defendants’ non-dispositive motions scheduled to be filed on or before
22   June 8, 2012 may be filed on or before August 6, 2012, and the Government’s responses
23   thereto scheduled to be filed on or before September 7, 2012 shall be filed on or before
24   September 14, 2012. The hearing on said motions will remain as previously scheduled
25   for October 12, 2012 at the hour of 1:00 p.m. before the Honorable Lawrence J. O’Neill,
26   ///
27   ///
28   ///



     Stipulation to Extend Tim e for the Filing of Defendants’ Non-Dispositive Motions, etc.   1
                Case 1:11-cr-00354-JLT Document 70 Filed 05/22/12 Page 2 of 6


 1   United States District Judge.
 2           DATED: May 17, 2012                                BENJAMIN B. WAGNER
                                                                United States Attorney
 3
 4                                                              By: /s/ Kathleen A. Servatius
                                                                  KATHLEEN A. SERVATIUS
 5                                                                Attorney for Plaintiff
 6           DATED May 17, 2012                                 FEDERAL DEFENDER’S OFFICE
 7
                                                                By: /s/ Eric V. Kersten
 8                                                                ERIC V. KERSTEN
                                                                  Attorney for Defendant
 9                                                                SHAWN MICHAEL CAMERON
10
             DATED: May 17, 2012                                /s/ Daniel L. Harralson
11                                                              DANIEL L. HARRALSON
                                                                Attorney for Defendant
12                                                              JOSE ANTONIO VELEZ
13
             DATED: May 17, 2012                                /s/ John Federick Garland
14                                                              JOHN FREDERICK GARLAND
                                                                Attorney for Defendant
15                                                              RICHARD ANTONIO SALAS
16
             DATED: May 17, 2012                                /s/ Harry M. Drandell
17                                                              HARRY M. DRANDELL
                                                                Attorney for Defendant
18                                                              RAYMOND LOUIS AVALOS
19
                                                                WANGER, JONES & HELSLEY, PC
20
21           DATED: May 17, 2012                                By: /s/ Peter Michael Jones
                                                                PETER MICHAEL JONES
22                                                              Attorney for Defendant
                                                                JEROME JAMES LANDEROS
23
24           DATED: May 17, 2012                                /s/ Dale A. Blickenstaff
                                                                DALE A. BLICKENSTAFF
25                                                              Attorney for Defendant
                                                                ARMANDO NUNEZ
26
27           DATED: May 17, 2012                                /s/Steven Crawford
                                                                STEVEN CRAWFORD
28                                                              Attorney for Defendant
                                                                JONATHAN OMAR MARIN MOJARRO


     Stipulation to Extend Tim e for the Filing of Defendants’ Non-Dispositive Motions, etc.    2
                Case 1:11-cr-00354-JLT Document 70 Filed 05/22/12 Page 3 of 6


 1
 2           DATED: May 17, 2012                                /s/ David F. Candelaria
                                                                Attorney for Defendant
 3                                                              CALIXTRO ISRAEL SANCHEZ
 4
             DATED: May 17, 2012                                /s/ Carl M. Faller
 5                                                              CARL M. FALLER
                                                                Attorney for Defendant
 6                                                              CHRISTOPHER ANTHONY MEDRANO
 7
             DATEDl: May 17, 2012                               /s/ Salvatore Sciandra
 8                                                              Salvatore Sciandra
                                                                Attorney for Defendant
 9                                                              CARLOS ENRIQUE
10
                                                                NUTTALL, COLEMAN & WILSON
11
12           DATED: May 17, 2012                                By: /s/ Mark W. Coleman
                                                                MARK W. COLEMAN
13                                                              Attorney for Defendant
                                                                MANUEL ALEJANDRO GARCIA
14
15           DATED: May 17, 2012                                /s/ Galatea R. DeLapp
                                                                GALATEA R. DeLAPP
16                                                              Attorney for Defendant
                                                                VANESSA MARIN MOJARRO CAMERON
17
18           DATED: May 17, 2012                                /s/ Brian C. Andritch
                                                                BRIAN C. ANDRITCH
19                                                              Attorney for Defendant
                                                                DAVID RAY SANCHEZ
20
21           DATED: May 17, 2012                                /s/ Jon Kiyoshi Renge
                                                                JON KIYOSHI RENGE
22                                                              Attorney for Defendant
                                                                FLORENTINO TORRES ACOSTA
23
24           DATED: May 17, 2012                                /s/ Curtis Bonghoon Sok
                                                                CURTIS BONGHOON SOK
25                                                              Attorney for Defendant
                                                                SALVADOR ZAMORA, JR
26
27           DATED: May 17, 2012                                /s/ Michael William Berdinella
                                                                MICHAEL WILLIAM BERDINELLA
28                                                              Attorney for Defendant
                                                                ERNESTO CASTRO


     Stipulation to Extend Tim e for the Filing of Defendants’ Non-Dispositive Motions, etc.     3
                Case 1:11-cr-00354-JLT Document 70 Filed 05/22/12 Page 4 of 6


 1                                                              BAKER, MANOCK & JENSEN
 2
             DATED: May 17, 2012                                /s/: Robert Donald Wilkinson
 3                                                              ROBERT DONALD WILKINSON
                                                                Attorney for Defendant
 4                                                              FELIX ALEJANDRO
 5
             DATED: May 17, 2012                                /s/ Mario DiSalvo
 6                                                              MARIO DiSALVO
                                                                Attorney for Defendant
 7                                                              JESUS SERRANO
 8
                                                                JACKE & JACKE
 9
10           DATED: May 17, 2012                                /s/: H. Clay Jacke, II
                                                                H. CLAY JACKE, II
11                                                              Attorney for Defendant
                                                                DAVID TERRAZAS, aka STARRY
12
13           DATED: May 17, 2012                                /s/ David A. Torres
                                                                DAVID A. TORRES
14                                                              Attorney for Defendant
                                                                MARTIN MARTINEZ
15
16                                                              LAW OFFICES OF ROBERT W.LYONS
17
             DATED: May 17, 2012                                By: /s/ Irvin Leroy Simons
18                                                              IRVIN LEROY SIMONS
                                                                Attorney for Defendant
19                                                              PHILLIP SPARKS
20
             DATED: May 17, 2012                                /s/ Jeffrey Tyson Hammerschmidt
21                                                              JEFFREY TYSON HAMMERSCHMIDT
                                                                Attorney for Defendant
22                                                              ARMAND VALLE
23
             DATED: May 17, 2012                                /s/ Toni Carbone
24                                                              TONI CARBONE
                                                                Attorney for Defendant
25                                                              FELIPE GUTIERREZ
26
             DATED: May 17, 2012                                /s/ Barbara Hope O’Neill
27                                                              BARBARA HOPE O’NEILL
                                                                Attorney for Defendant
28                                                              JESSE JUAREZ



     Stipulation to Extend Tim e for the Filing of Defendants’ Non-Dispositive Motions, etc.      4
                Case 1:11-cr-00354-JLT Document 70 Filed 05/22/12 Page 5 of 6


 1
 2           DATED: May 17, 2012                                /s/ Edward Marshall Hodgkins, III
                                                                EDWARD MARSHALL HODGKINS, III
 3                                                              Attorney for Defendant
                                                                FENTON TORREZ
 4
 5           DATED: May 17, 2012                                /s/ Joan Jacobs Levie
                                                                JOAN JACOBS LEVIE
 6                                                              Attorney for Defendant
                                                                EDWARD LUNA
 7
 8           DATED: May 17, 2012                                /s/ Robert Lee Forkner
                                                                ROBERT LEE FORKNER
 9                                                              Attorney for Defendant
                                                                GERARDO JAQUEZ
10
11           DATED: May 17, 2012                                /s/ J. Tony Serra
                                                                J. TONY SERRA
12                                                              Attorney for Defendant
                                                                JORGE JAUREGUI
13
14           DATED: May 17, 2012                                /s/ Karen L. Lynch
                                                                KAREN L. LYNCH
15                                                              Attorney for Defendant
                                                                MARACELLO AMBRIZ
16
17           DATED: May 17, 2012                                /s/ James R. Homola
                                                                JAMES R. HOMOLA
18                                                              Attorney for Defendant
                                                                ROBERT SALAZAR
19
20           DATED: May 17, 2012                                /s/ Daniel A. Bacon
                                                                DANIEL A. BACON
21                                                              Attorney for Defendant
                                                                FELIPE RAMIREZ
22
23                                                              BAY AREA CRIMINAL LAWYERS, PC
24
             DATED: May 17, 2012                                By: /s/ David J. Cohen
25                                                              DAVID J. COHEN
                                                                Attorney for Defendant
26                                                              CESAR NOE VILLA
27
28



     Stipulation to Extend Tim e for the Filing of Defendants’ Non-Dispositive Motions, etc.        5
                Case 1:11-cr-00354-JLT Document 70 Filed 05/22/12 Page 6 of 6


 1                                                  ORDER
 2            It having been stipulated by the parties hereto, and good cause appearing therefor,
 3            The defendants and all of their non-dispositive motions must be filed with this Court
 4   on or before August 6, 2012 and the Government shall have until September 14, 2012
 5   in which to file its responsive pleadings.
 6            The hearing date of October 12, 2012 at the hour of 1:00 p.m. shall remain.
 7
 8
 9   IT IS SO ORDERED.
10   Dated:      May 22, 2012                             /s/ Lawrence J. O'Neill
     b9ed48                                           UNITED STATES DISTRICT JUDGE
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     Stipulation to Extend Tim e for the Filing of Defendants’ Non-Dispositive Motions, etc.     6
